                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
IN RE RICHARD M. OSBORNE                            CASE NO. 17-17361
                  Debtor                            CHAPTER 11
                                                    JUDGE ARTHUR I. HARRIS

MOTION OF RICHARD M. OSBORNE TO SELL TWO PARCELS OF REAL PROPERTY LOCATED ON
  CONCORD-HAMBDEN ROAD, CONCORD TOWNSHIP OH FREE OF ANY INTEREST OF ANY
                        ENTITY OTHER THAN THE ESTATE
        Richard M. Osborne, Debtor in Possession (“Debtor”) moves this Court for an order

pursuant to 11 U.S.C. §§ 102(1)(B)(i), 363(b) and (f), authorizing the sale of the property of the

estate described below free of any interest of any entity other than the estate.

1. On December 17, 2017 (the “Petition Date”), the Debtor filed his voluntary petition for relief

under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code").

2. The Debtor has continued in possession of his property and has continued to operate and

manage his businesses as debtor-in possession pursuant to §§ 1107(a) and 1108 of the

Bankruptcy Code. No request has been made for the appointment of a trustee or examiner, and

the United States Trustee has indicated that no official creditor committee is being formed in this

case.

3. The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. Venue

is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a "core" proceeding

pursuant to 28 U.S.C. § 157(b)(2). The statutory predicate for the relief sought herein is §363(b)

and (f) of the Bankruptcy Code.

4. The Debtor seeks to sell two parcels of vacant land on Concord Hambden Road, Permanent

Parcel No.’s 08A0140000120 and 08A014000390, Concord Township, Lake County, Ohio,

containing 17.36 acres, more or less (“Concord Hambden Parcels”). The Debtor proposes to sell

the estate’s interest in the Concord Hambden Parcels for $400,000.00 (“Gross Proceeds”) on the


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terms and conditions set forth in the offer to purchase from Sommers Real Estate Group or its

nominee (“Buyer”) attached hereto as Exhibit A. Buyer has no connection to the Debtor and

Buyer seeks to purchase the Concord Hambden Parcels in good faith. Buyer is also purchasing

from Rockefeller Oil Company LLC (an entity 100% owned by the Debtor) an oil and gas well

on the property for $300,000. The Buyer will be assuming all responsibility for capping that

well. Buyer will also pay a broker’s fee of $25,000 to The Osborne Group-KW Commercial,

7400 Center Street, Mentor, Ohio 44060, which owned by the Debtor’s son Rick Osborne Jr.

5. Prepetition title to the Concord Hambden Parcels was in the name of the Richard M. Osborne

Trust (“Trust”). On December 17, 2017 the Debtor revoked the Trust which caused the Trust’s

property to revest in the Debtor on that date. The Concord Hambden Parcels are therefore

property of this bankruptcy estate.

6. On or about January 18, 1995, the Trust obtained a loan from Fifth Third Bank in the original

amount of $487,500.00. There is currently due and owing on the loan the outstanding principal

balance of $435,784.81 plus interest accruing thereon at the rate of LIBOR plus 6% per annum

from April 3, 2015; as of March 31, 2018 the amount owed was $527,527.80.

7. To secure payment of the Fifth Third Bank loan on r about January 18, 1995 the Trust also

executed an Open-End Mortgage and Security Agreement in favor of Fifth Third Bank dated

June 18, 2004 (the “Mortgage”). The Mortgage granted a Fifth Third Bank a security interest in

the Concord Hambden Parcels.

8. The Concord Hambden Parcels were the subject of a foreclosure proceeding filed in the Lake

County Court of Common Pleas by Yellowbrick Storage, LLC (an entity controlled by the

Debtor “Yellowbrick”) and styled Yellowbrick Storage, LLC v. Richard M. Osborne, Trustee, et




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al. Lake County Court of Common Pleas Case No. 15CF000490 (the “Foreclosure”).

Yellowbrick held a lien junior in priority to the Mortgage.

9. On September 12, 2016 Fifth Third Bank transferred its interest in the Mortgage to

Concord/Hambden Road, LLC, an entity wholly owned by the Debtor.

10. On or about May 8, 2017 the Concord Hambden Parcels were the subject of a sheriff’s sale

(the “Sherriff’s Sale”). Concord/Hambden Road, LLC submitted a credit bid and was the high

bidder at $510,000 at the Sherriff’s Sale. However the Lake County Court of Common Pleas has

never confirmed the Sherriff’s Sale, so title remained in the Trust and hence remains part of this

bankruptcy estate.

11. The fair market appraisal for the Concord Hambden Parcels filed in the Foreclosure showed

an estimated sale value of $405,000.00. The proposed sales price is therefore fair and reasonable

for the Concord Hambden Parcels.

12. The only interest superior to the Mortgage in the Concord Hambden Parcels is the lien for

real estate taxes payable to the Lake County Treasurer in the amount of $54,772.91 (“Real Estate

Taxes”).

13. Because the Debtor owns all of the membership interests in Concord/Hambden Road, LLC

the Mortgage may be avoided. In the alternative Concord/Hambden Road, LLC could disburse

any amounts received for the Mortgage to the Debtor.

14. There are numerous holders of an interest in the Concord Hambden Parcels (set forth on

Exhibit B), but all such holders of any interest consent to the sale free of their interest.

15. Many of the interests in the Concord Hambden Parcels are in bona fide dispute. .




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16. As the remaining interests are junior in priority to the Mortgage, the holder of any interest in

the Concord Hambden Parcels may be compelled in a legal or equitable proceeding to accept a

money satisfaction of such interest.

17. In order to provide adequate protection of any interest in the Concord Hambden Parcels, the

Debtor will deposit the sale proceeds into his debtor-in-possession account, and disburse from

the sale proceeds an amount sufficient to pay the Real Estate Taxes in full. The Debtor will hold

the amount of proceeds net of the amount used to pay the Real Estate Taxes pending further

order of the Court (the “Net Proceeds”). All other interests in the Concord Hambden Parcels will

be transferred to the Net Proceeds for distribution pursuant to later order of this Court, in

accordance with the respective rights and priorities of the holders any interest in the Concord

Hambden Parcels, as such right appears and is entitled to be enforced against the Concord

Hambden Parcels, the Estate or the Debtor under the Bankruptcy Code or applicable non-

bankruptcy law.

18. Therefore the Concord Hambden Parcels may be sold free of any interest of any other entity.

       Therefore, the Debtor respectfully requests that this Court authorize the sale of the

Concord Hambden Parcels, in the event a timely objection to this motion is made, to the

proposed purchaser on the terms and conditions herein set forth.

                                               Respectfully submitted,
                                               /s/ Frederic P. Schwieg, Esq.
                                               Frederic P. Schwieg, Esq. (0030418)
                                               Attorney at Law
                                               2705 Gibson Dr
                                               Rocky River, OH 44116
                                               (440) 499-4506
                                               Fax: (440) 398-0490
                                               fschwieg@schwieglaw.com
                                               Attorney for Richard M. Osborne




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                                          CERTIFICATE OF SERVICE

I hereby certify that a copy of this Motion to sell was electronically transmitted on or about the date filed via the
Court’s CM/ECF system to the following who are listed on the Court’s Electronic Mail Notice list or was served by
U.S. mail, postage prepaid, or certified mail on the persons below as indicated below.
Electronic Mail Notice List
The following is a list of the parties who are on the list to receive e-mail notice/service for this case:

Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
gamend@bdblaw.com, grichards@bdblaw.com

Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
rbarr@koehler.law, rbarr@koehler.law

David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
DBrady@Sandhu-Law.com, bk1notice@sandhu-law.com

Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
bk@hhkwlaw.com

Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania
mmatheney@bdblaw.com, bhajduk@bdblaw.com

Timothy P. Palmer on behalf of Creditor The Huntington National Bank
timothy.palmer@bipc.com, donna.curcio@bipc.com

John J. Rutter on behalf of Creditor Concord Lumber & Supply Co.
jrutter@ralaw.com

Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
fschwieg@schwieglaw.com

Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

Nathaniel R. Sinn on behalf of Creditor First National Bank of Pennsylvania
nsinn@bdblaw.com, kslatinsky@bdblaw.com

Andrew M. Tomko on behalf of Creditor Tax Ease Ohio, LLC
atomko@sandhu-law.com, bk1notice@sandhu-law.com

Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

Michael S. Tucker on behalf of Creditor Citizens Bank, N.A.
mtucker@ulmer.com

Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
maria.d.giannirakis@usdoj.gov

Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
Scott.R.Belhorn@usdoj.gov

Ordinary US Mail Service:
Treasurer-Lake County



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PO BOX 490
Painesville OH 44077-0490

Lake County Prosecutor-Civil
PO BOX 490
Painesville OH 44077-0490

Ohio Department of Job & Family Services
Attn: Program Services/Revenue Recovery
P.O. Box 182404
Columbus, Ohio 43218-2404

Ohio Bureau of Workers' Compensation
Attn: Law Section Bankruptcy Unit
P.O. Box 15567
Columbus, Ohio 43215-0567

Ohio Attorney General
Collections Enforcement Section
attn Bankruptcy Staff
150 E Gay ST Fl 21
Columbus, OH 43215

                                                    /s/ Frederic P. Schwieg
                                                    Frederic P. Schwieg




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                       CONTRACT TO PURCHASE REAL ESTATE


   The undersigned Purchaser, or it’s assigns, agree to purchase from Richard M. Osborne,
   Trustee, Seller, the following described real estate known as vacant land on Concord
   Hambden Road, Permanent Parcel #’s 08A0140000120 and 08A014000390, Concord
   Township, Lake County, Ohio, containing 17.36 acres, more or less.

   1.     The purchase price is $400,000.00, payable as follows:

               A. Earnest money, $ 25,000.00 in cash or check, to be deposited with Title
                  Company upon approval of the sale by the U.S. Bankruptcy Court

               B. Balance is to be deposited with the escrow agent five days prior to closing.

               C. Purchaser is purchasing property subject to Addendum “A” attached
                  hereto and made part of the Purchase Agreement.

   2.     Seller shall furnish a Limited Warranty Deed conveying to the Purchaser good
          title to the property, free and clear of any encumbrances whatsoever, except (i)
          zoning ordinances, if any; (ii) easements, reservations and restrictions of record, if
          any; (iii) taxes and assessments, which shall be prorated as of the date of title
          transfer (based on the last available tax duplicate), and therefore assumed by
          Purchasers.


   3.     Funds & Documents:

               All documents and funds necessary for the completion of this transaction shall
               be placed in escrow, with the escrow agent, Lake County Title, 306 High
               Street, Fairport Harbor, Ohio, 44077. Telephone number: 440-974-8242, not
               less than 3 days before the date of the title transfer.

   4.     Title:

               Title shall be taken as follows: Sommers Real Estate Group LLC., or it’s
               assigns.

               Type of deed: Warranty



                                                                                           A
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   5.    Defects:

               In the event a defect in title appears, Seller shall have 30 days to remove said
               defect, and in any event of failure to do so, Purchaser may rescind this
               agreement.



   6.    Possession:

               Possession of the property shall be delivered upon transfer of title.


   7.    Charges:

               Seller shall pay: (a) any amounts due Purchaser by reason of pro-rations, (b)
               one half the escrow fee, (c) one half of the realty transfer tax and (d) one-half
               of the Owners Fee Title Policy in the amount of the purchase price and (e) the
               title examination fee (f) any CAUV recoupment

               Purchaser shall pay (a) one half of the escrow fee (b) one half of the transfer
               tax (c) one-half of the Owner’s Fee Title Policy in the amount of the purchase
               price (d) any costs related to the filing of any mortgage placed on the property

               Purchaser shall pay a brokers fee of $25,000 to The Osborne Group-KW
               Commercial, 7400 Center Street, Mentor, Ohio 44060.

   8.    Closing:

               Title shall transfer on or about: 5 days after court approval and conditions of
               sale outlined in Addendum “A




   THIS AGREEMENT CONTAINS ALL OF THE TERMS AND CONDITIONS
   AGREED TO BY AND BETWEEN BUYER AND SELLER AND THERE ARE NO
   OTHER CONDITIONS, REPRESENTATIONS, WARRANTIES OR AGREEMENTS
   EXPRESSED OR IMPLIED. ANY CHANGES TO THIS AGREEMENT MUST BE IN
   WRITING.




   FACSIMILE (FAX) SIGNATURES OR ELECTRONIC SIGNATURES SHALL BE
   DEEMED BINDING AND VALID.



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                                                 Seller:


      Sommers Real Estate Group LLC

                                             Dated:- - - - - - -
      Box 1102
      Chardon, Ohio 44024
      Address

                                             By: _ _ _ _ _ _ _ _ _ _ _ _ __



      Dated~                                 Dated: - - - - - - -


      Telephone Number: 440-487-1220         By:_ _ _ _ _ _ _ _ _ _ _ _ _ __

      Email: rs@sommersrealestate.com

                                             Dated:- - - - - - -




                                             3



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               ADDENDUM “A” TO THE PURCHASE AGREEMENT FOR
                         PPN#’S 08A0140000390 AND 08A014000120


    1. The sale of the properties is subject to the Purchaser, at its sole expense, in obtaining a
       text change amendment to Concord Township Zoning Regulations allowing for a
       residential use subdivision in the current Town Hall Zoning Category within 150 days
       from the date of the signing of the Purchase Agreement.

    2. Title shall transfer within 5 days of the final effective date of the text change
       Amendment.

    3. Seller shall cooperate and sign any and all required documents to effectuate the intended
       zoning change and shall deliver a limited Power of Attorney to Purchaser to apply for the
       intended zoning changes.




 Seller:___________________________                   Date:___________________




 Purchaser:__________________________                 Date:___________________




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                  ADDENDL'i't.I .... A""' T O T H E P"'l.JR.CII"ASE          AGR.EE~NT            FOR
                                  PPN#"~     08A0l40000390 .AND OSAOJ,4000"120


  J._    ""T'he sale of' the prope~t:ies is subject: -t:o t:he Purchaser~ at. its sc:>le expense, -in obt:aining a
         -t:ex.t cha:nge amendmen:t. t;o Concord Tovvnship Zoning Reg;:ulat.ions allowing for a
         residential u,.-51e subdivision in rhe current: To"VVT.I H.aU Z0tni:ng Category'" within 1 50 days
         from t:he date o f the signing e>f the P'-lrcbase Agreen:ient_

  2.     'Tit:le shall tran.sfcr wit:h:in 5    days o f the final effcct:hrc dat:e o f the text cha-uge
         A-.:nen<lme:n t.

   3 _   Seller sh.all ~operate a:n.d sign any and all required doc-...u:n.en:ts to effectua.t:e the i:o:t.ended
         zoning change and shall delive.r a limited Po ...ver o r At:torney 1:0 Purchaser t.o apply fort.be
         in.-c.euded z.-oning changes_



Seller:~                    ;f"\'J. "'.   ~                          Date:        '-tfl 7/18
Purchase•"      Vl !l ~ ~                                            Da<eo       1/!Jli~




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                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
 IN RE RICHARD M. OSBORNE                              CASE NO. 17-17361
 DEBTOR                                                CHAPTER 11
                                                       JUDGE ARTHUR I. HARRIS

   ORDER GRANTING MOTION OF RICHARD M. OSBORNE TO SELL TWO PARCELS OF REAL
 PROPERTY LOCATED ON CONCORD-HAMBDEN ROAD, CONCORD TOWNSHIP OH FREE OF ANY
                INTEREST OF ANY ENTITY OTHER THAN THE ESTATE
        The matter before the Court is the motion of Richard M. Osborne, Debtor in Possession

 (“Debtor”) for an order pursuant to 11 U.S.C. §§ 102(1)(B)(i), 363(b) and (f), authorizing the

 sale of the property of the estate described below free of any interest of any entity other than the

 estate (“Motion”). [Docket No. __] .

        THE COURT FINDS THAT:

 1. The Motion and Notice of the Motion was certified as being duly served according to the

 Bankruptcy Code and Federal Rules of Bankruptcy Procedure.

 2. On December 17, 2017 (the “Petition Date”), the Debtor filed his voluntary petition for relief

 under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code").




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 3. The Debtor has continued in possession of his property and has continued to operate and

 manage his businesses as debtor-in possession pursuant to §§ 1107(a) and 1108 of the

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 the United States Trustee has indicated that no official creditor committee is being formed in this

 case.

 4. The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. Venue

 is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a "core" proceeding

 pursuant to 28 U.S.C. § 157(b)(2). The statutory predicate for the relief sought herein is §363(b)

 and (f) of the Bankruptcy Code.

 5. The Debtor seeks to sell two parcels of vacant land on Concord Hambden Road, Permanent

 Parcel No.’s 08A0140000120 and 08A014000390, Concord Township, Lake County, Ohio,

 containing 17.36 acres, more or less (“Concord Hambden Parcels”). The Debtor proposes to sell

 the estate’s interest in the Concord Hambden Parcels for $400,000.00 (“Gross Proceeds”) on the

 terms and conditions set forth in the offer to purchase from Sommers Real Estate Group or its

 nominee (“Buyer”) attached to the Motion as Exhibit A. Buyer has no connection to the Debtor

 and Buyer seeks to purchase the Concord Hambden Parcels in good faith. Buyer is also

 purchasing from Rockefeller Oil Company LLC (an entity 100% owned by the Debtor) an oil

 and gas well on the property for $300,000. The Buyer will be assuming all responsibility for

 capping that well. Buyer will also pay a broker’s fee of $25,000 to The Osborne Group-KW

 Commercial, 7400 Center Street, Mentor, Ohio 44060, which owned by the Debtor’s son Rick

 Osborne Jr.

 6. Prepetition title to the Concord Hambden Parcels was in the name of the Richard M. Osborne

 Trust (“Trust”). On December 17, 2017 the Debtor revoked the Trust which caused the Trust’s




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 property of this bankruptcy estate.

 7. On or about January 18, 1995, the Trust obtained a loan from Fifth Third Bank in the original

 amount of $487,500.00. There is currently due and owing on the loan the outstanding principal

 balance of $435,784.81 plus interest accruing thereon at the rate of LIBOR plus 6% per annum

 from April 3, 2015; as of March 31, 2018 the amount owed was $527,527.80.

 8. To secure payment of the Fifth Third Bank loan on r about January 18, 1995 the Trust also

 executed an Open-End Mortgage and Security Agreement in favor of Fifth Third Bank dated

 June 18, 2004 (the “Mortgage”). The Mortgage granted a Fifth Third Bank a security interest in

 the Concord Hambden Parcels.

 9. The Concord Hambden Parcels were the subject of a foreclosure proceeding filed in the Lake

 County Court of Common Pleas by Yellowbrick Storage, LLC (an entity controlled by the

 Debtor “Yellowbrick”) and styled Yellowbrick Storage, LLC v. Richard M. Osborne, Trustee, et

 al. Lake County Court of Common Pleas Case No. 15CF000490 (the “Foreclosure”).

 Yellowbrick held a lien junior in priority to the Mortgage.

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 Concord/Hambden Road, LLC, an entity wholly owned by the Debtor.

 11. On or about May 8, 2017 the Concord Hambden Parcels were the subject of a sheriff’s sale

 (the “Sherriff’s Sale”). Concord/Hambden Road, LLC was the high bidder at $510,000 at the

 Sherriff’s Sale. However the Lake County Court of Common Pleas has never confirmed the

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 12. The fair market appraisal for the Concord Hambden Parcels filed in the Foreclosure showed

 an estimated sale value of $405,000.00. The proposed sales price is therefore fair and reasonable

 for the Concord Hambden Parcels.

 13. The only interest superior to the Mortgage in the Concord Hambden Parcels is the lien for

 real estate taxes payable to the Lake County Treasurer in the amount of $54,772.91 (“Real Estate

 Taxes”).

 14. Because the Debtor owns all of the membership interests in Concord/Hambden Road, LLC

 the Mortgage may be avoided. In the alternative Concord/Hambden Road, LLC could disburse

 any amounts received for the Mortgage to the Debtor.

 15. There are numerous holders of an interest in the Concord Hambden Parcels (set forth on

 Exhibit C), but all such holders of any interest consent to the sale free of their interest.

 16. Many of the interests in the Concord Hambden Parcels are in bona fide dispute. .

 17. As the remaining interests are junior in priority to the Mortgage, the holder of any interest in

 the Concord Hambden Parcels may be compelled in a legal or equitable proceeding to accept a

 money satisfaction of such interest.

 18. In order to provide adequate protection of any interest in the Concord Hambden Parcels, the

 Debtor will deposit the sale proceeds into his debtor-in-possession account, and disburse from

 the sale proceeds an amount sufficient to pay the Real Estate Taxes in full. The Debtor will hold

 the amount of proceeds net of the amount used to pay the Real Estate Taxes pending further

 order of the Court (the “Net Proceeds”). All other interests in the Concord Hambden Parcels will

 be transferred to the Net Proceeds for distribution pursuant to later order of this Court, in

 accordance with the respective rights and priorities of the holders any interest in the Concord

 Hambden Parcels, as such right appears and is entitled to be enforced against the Concord




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 Hambden Parcels, the Estate or the Debtor under the Bankruptcy Code or applicable non-

 bankruptcy law.

 19. Therefore the Concord Hambden Parcels may be sold free of any interest of any other entity.

 THEREFORE IT IS ORDERED THAT:

 1. The Debtor is hereby authorized to sell the Concord Hambden Parcels, free and clear of any

 interest of any entity other than the estate;

 2. The Debtor is hereby authorized to disburse from the sale proceeds an amount sufficient to

 pay the Real Estate Taxes in full to the Lake County Treasurer;

 3. All other interests in the Concord Hambden Parcels are hereby transferred to the Net

 Proceeds for distribution pursuant to later order of this Court, in accordance with the respective

 rights and priorities of the holders any interest in the Concord Hambden Parcels, as such right

 appears and is entitled to be enforced against the Concord Hambden Parcels, the Estate or the

 Debtor under the Bankruptcy Code or applicable non-bankruptcy law.

                                                            ###
 Prepared By:
 /s/ Frederic P. Schwieg, Esq.
 Frederic P. Schwieg, Esq. (0030418)
 Attorney at Law
 2705 Gibson Dr
 Rocky River, OH 44116
 (440) 499-4506
 Fax: (440) 398-0490
 fschwieg@schwieglaw.com
 Attorney for Richard M. Osborne


                                CERTIFICATE OF SERVICE
       a copy of the foregoing Order Granting Motion to Sell was served on following on this
 ______ day of April, 2018 by regular U.S. mail or by ECF.

 The following is a list of the parties who are on the list to receive e-mail notice/service for this case:

 Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
 gamend@bdblaw.com, grichards@bdblaw.com



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 Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
 abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

 Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
 rbarr@koehler.law, rbarr@koehler.law

 David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
 DBrady@Sandhu-Law.com, bk1notice@sandhu-law.com

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 Timothy P. Palmer on behalf of Creditor The Huntington National Bank
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 John J. Rutter on behalf of Creditor Concord Lumber & Supply Co.
 jrutter@ralaw.com

 Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
 fschwieg@schwieglaw.com

 Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
 msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

 Nathaniel R. Sinn on behalf of Creditor First National Bank of Pennsylvania
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 atomko@sandhu-law.com, bk1notice@sandhu-law.com

 Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
 toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

 Michael S. Tucker on behalf of Creditor Citizens Bank, N.A.
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 Ohio Department of Job & Family Services
 Attn: Program Services/Revenue Recovery
 P.O. Box 182404



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 Columbus, Ohio 43218-2404

 Ohio Bureau of Workers' Compensation
 Attn: Law Section Bankruptcy Unit
 P.O. Box 15567
 Columbus, Ohio 43215-0567

 Ohio Attorney General
 Collections Enforcement Section
 attn Bankruptcy Staff
 150 E Gay ST Fl 21
 Columbus, OH 43215




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                                                Full Search
                                      Effective date: March 13, 2018




 Property Address:
 Vacant land Concord Hamden Road

 Title Vested in the Name of:
 Richard M. Osborne, Trustee

 (Note: Property was sold at Sheriffs sale to Concord Hamden Road LLC, sale has not been confirmed,
 sheriffs deed has not been filed)


 Vesting Deed (s)
 2002R007377 & 2002R007379


 PENDING FORECLOSURE
 Complaint for foreclosure filed for record March 23, 2015 in Common Pleas Court of Lake County Docket
 15-CF-000490 – Where Yellowbrick Storage LLC is designated as the Plaintiff and Richard M. Osborne,
 Trustee et-al is designated as defendant

 3/3/2017 Precipe for order of sale
 5/15/2017 Order of sale returned – Sold to Concord Hamden Road LLC for $510,000
 7/11/2017 Motion for entry of Confirmation of sale and order of distribution
 NO FURTHER DOCKET ENTRIES

 Note: Confirmation of Sale has not yet filed

 Taxes
 Taxes for the year 2017, Payable in 2018: Listed in the name of Richard M. Osborne, Trustee

 Parcel No. 08-A-014-0-00-012-0
 TOTAL TAXES AND DELINQUENCIES CURRENTLY DUE: $15,559.00

 Parcel No. 08-A-014-0-00-039-0
 TOTAL TAXES AND DELINQUENCIES CURRENTLY DUE: $43,093.97

 Taxes for the year 2018are a lien, but not yet due or payable.



 Liens: Note all of the following liens will be released once sheriffs sale has
 been competed


                                                                                               B
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 Mortgage: From: Richard M. Osborne Trustee to Fifth Third Bank
 Amount: $487,500.00
 Filed: 7/7/2004 recorded as Instrument No. 2004R031710
 Assignment of Rents filed 7/7/2004 in Instrument No. 2004R031711
 ASSIGGMENT OF OPEN END MORTGAGE AND SECURITY AGREEMENT FILED FOR RECORD SEPTEMBER
 12, 2016 AND RECORDED AS INSTRUMENT NO. 2016r023738 OF LAKE COUNTY RECORDS –
 ASSIGNED TO CONCORD HAMDEN ROAD LLC

 Mortgage from: Richard M. Osborne, Trustee to RBS Citizens, d.b.a Charter One
 No Amount shown
 Filed: August 4, 2014 as Instrument No. 2014R013442

 Judgment lien Filed on 8/21/2009; 09-JL-004014, in favor of RBS Citizens, Charter One, AGAINST: John
 D Oil and Gas Company Richard M Osborne, Trustee and Richard M. Osborne (individually)
 Amount $9,500,000.00
 Judgment lien Re-filed on 8/18/2014; 14-JL-003247, in favor of RBS Citizens, Charter One, AGAINST:
 John D Oil and Gas Company Richard M Osborne, Trustee and Richard M. Osborne (individually)
 Amount $9,500,000.00

 Judgment Lien Filed on 8/21/2009; 09-JL-004015, in favor of RBS Citizens, Charter One, Against: Richard
 M. Osborne (individually); Great Plains Exploration LLC and Oz Gas. Amount $21,211,495.94
 Judgment lien Re-filed on 8/18/2014; 14-JL-003248, in favor of RBS Citizens, Charter One, Against:
 Richard M. Osborne (individually); Great Plains Exploration LLC and Oz Gas. Amount $21,211,495.94
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINST
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on 7/25/2011, 11-JL-003136, in favor of The Home Savings and Loan Company,
 AGAINST: Richard M. Osborne, Trustee, Richard M. Osborne, Trustee of the Rigrtona Trust, Richard M.
 Osborne Individually Amount $737,105.52
 Judgment Lien Re-filed on July 20, 2016. 16-JL-002725 in favor of The Home Savings and Loan
 Company, AGAINST: Richard M. Osborne, Trustee, Richard M. Osborne, Trustee of the Rigrtona Trust,
 Richard M. Osborne Individually Amount $737,105.52
 NOTE: THIS LIEN APPEARS TO BE FILED AGAINST THE RIGRTONA TRUST AND NOT THE RICHARD M.
 OSBORNE TRUST

 Judgment Lien Filed on 7/25/2011, 11-JL-003139, in favor of The Home Savings and Loan Company,
 AGAINST: Richard M. Osborne (Individually) and Leimco Development Co. and Martin Hathy
 Amount $1,230,753.89
 Judgment lien Re-filed on July 20, 2016, 16-JL-002726, in favor of The Home Savings and Loan Company,
 AGAINST: Richard M. Osborne (Individually) and Leimco Development Co. and
 Martin Hathy
 Amount $1,378,250.02
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINST
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on 9/28/2011, 11-JL-004219, in favor of Citizens Bank;




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 Assigned on 4/12/2013 to Chicago Title Insurance Company. AGAINST; Richard M. Osborne, Trustee and
 Richard M. Osborne (individually)
 Amount $3,460,913.95
 Judgment Lien Re-filed on September 13, 2016. Common Pleas Court of Lake County docket 16-JL-
 003910 in favor of Chicago Title Insurance Company. AGAINST; Richard M. Osborne, Trustee and
 Richard M. Osborne (individually)
 Amount $3,460,913.95

 Judgment Lien Filed on 11/23/2011, 11-JL-005330, in favor of Home Savings and Loan Company of
 Youngstown;
 AGAINST; Midway Industrial Campus, and Richard M. Osborne (Amount: $4,164,725.00)
 AGAINST; Madison Route 20 LLC and Richard M. Osborne (Amount $2,248,265.46)
 Judgment lien Re-filed on July 20, 2016, 16-JL-002731, in favor of Home Savings and Loan Company of
 Youngstown;
 AGAINST; Midway Industrial Campus, and Richard M. Osborne (Amount: $4,164,725.00)
 AGAINST; Madison Route 20 LLC and Richard M. Osborne (Amount $2,248,265.46)
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINST
 THE RICHARD M. OSBORNE TRUST


 Judgment Lien Filed on 2/15/2013, 13 FJ-000002, In favor of First Source bank,
 AGAINST; Richard M. Osborne (individually)
 Amount $523,117.37
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINST
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on 10/15/2015, 15-JL-004203, in favor of CFBank (28879 Chagrin Blvd. Woodmere
 Ohio 44122) AGAINST; Richard M. Osborne, Trustee and Richard M. Osborne (individually)
 Amount; $662,565.96
 Note: The above lien was assigned on August 1, 2016 from CF Bank to 7001 Center St. LLC


 NOTE: THE FOLLOWING LIENS WILL NOT BE RELEASED BY THE
 COURT, BUT SHOULD NOT AFFECT SUBJECT PROPERTY BECAUSE
 OF LIS PENDES DATE OF MARCH 23, 2015, IF THE SHERIFFS SALE
 IS COMPLETED IN CASE 15-CF-000490
 STATE JUDGMENT LIEN filed 12/19/2015. 15-ST-005412. In favor of the Ohio Department of Taxation,
 against Richard M. Osborne (individually) in the amount of $594,583.30
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on 2/15/2013, 13 FJ-000002, In favor of First Source bank,
 AGAINST; Richard M. Osborne (individually)
 Amount $523,117.37




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 Notice of lien filed 2/19/2016 in Instrument no. 2016L000096 of Lake County Records in favor of Ohio
 Department of Job and Family services against Rick M. Osborne and Tom J. Smith, d/b/a/ LSS I LP in the
 amount of $150.81

 Judgment Lien Filed on 7/20/2016, 16-JL-002725, in favor of The Home Savings and Loan Company of
 Youngstown AGAINST; Richard M. Osborne, Trustee The Rigrtona Trust and Richard M. Osborne
 (individually)
 Amount; $737,105.52
 Note: The above lien was assigned on November 14, 2017 from Home Savings to Rigrtona Holding
 Company LLC

 Judgment Lien filed on 7/20/2016. 16-JL-002726, in favor of the Homes Savings and Loan Company of
 Youngstown, against Leimco Development Company, Richard M. Osborne and Martin Hathy
 Amount: $1,387,520.00
 Note: The above lien was assigned on November 14, 2017 from Home Savings to Leimco Acquisition
 Company LLC

 STATE JUDGMENT LIEN filed 03/09/2017. 17-ST-001389. In favor of the Ohio Department of Workmen’s
 Compensation, against Richard M. Osborne (individually) in the amount of $22,188.99 – serial No.
 4233537 –
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Workmen’s Compensation Lien, filed for record March 10, 2017 and recorded in Instrument No.
 2017R006265 of Lake County Records in favor of the State of Ohio Bureau of Workmen’s Compensation
 against Richard M. Osborne et-al The Northwesterly
 Judgment amount $22,193.60– serial No. 4233537 –Risk No. 1225465-0
 NOTE: THIS LIEN IS FILED AGAINST RICHARD M. OBORNE (INDIVIDUALLY) AND IS NOT FILED AGAINTS
 THE RICHARD M. OSBORNE TRUST

 Judgment Lien Filed on May 18, 2017, 17-JL-002688, in favor of Chicago Title Insurance Company
 AGAINST; Richard M. Osborne, Trustee and Richard M. Osborne (individually), Rigrtona Trust and Leimco
 Development Company
 Amount; $1,657,332.86

 Judgment Lien Filed on September 29, 2017- 17-JL-004165, in favor of Chicago Title Insurance Company
 AGAINST; Richard M. Osborne, Trustee and Richard M. Osborne (individually), Rigrtona Trust and Leimco
 Development Company
 Amount; $1,657,332.86

 Judgment Lien Filed on October 18, 2017- 17-JL-005189, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $4,609,385,39 with interest at $952.28 per day




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 Judgment Lien Filed on October 18, 2017- 17-JL-005190, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $4,609,385,39 with interest at $952.28 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005191, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $541,388.32 with interest at $47.40 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005192, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $471,216.54 with interest at $75.48 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005193, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc., Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $104,929.18 with interest at $10.06 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005194, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $34,036.09 with interest at $3.27 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005195, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $557,387.76 with interest at $48.76 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005196, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $547,470.56 with interest at $121.04 per day




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 Judgment Lien Filed on October 18, 2017- 17-JL-005197, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $1,346,107.19 with interest at $117.73 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005198, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc, Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $93,857.37 with interest at $0 per day

 Judgment Lien Filed on October 18, 2017- 17-JL-005199, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc., Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $142,492.71 with interest at $13.67 per day

 Judgment Lien Filed on November 1, 2017- 17-JL-005314, in favor of First National Bank of Pennsylvania
 AGAINST; Richard M. Osborne, Trustee under restated Trust Agreement dated January 13, 1995 and
 Richard M. Osborne (individually), Junior Properties, Rigrtona Trust of December 3, 2001, Chowder Gas
 Storage Facility, Lake Shore Gas Storage Inc, Orwell Trumbull Pipeline Co. LLC, Heisley Hopkins Inc., Black
 Bear Realty LTD and Hamilton Partners Inc.
 Amount; $480.138.04




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 Other Encumbrances
 1. Easement for Sanitary Sewer to the Board of Lake County Commissioners, filed for record 2/14/2006
 and recorded as Instrument No. 2006R006020 of Lake County Records

 2. Easement for Sanitary Sewer to the Board of Lake County Commissioners, filed for record 9/25/2006
 and recorded as Instrument No. 2006R039247 of Lake County Records

 3. Limited access note Interstate 90,
  Subject property abuts State Route 90, a limited access highway, subject property does not have any
 rights of direct access to said limited access highway

 4. (a) . Oil and gas lease from Richard M. Osborne, Trustee to John D. Oil and Gas Company, dated
 12/16/2005, filed for record 12/23/2005 and recorded as Instrument No. 2005R055460 of Lake County
 Records
 Term 3 years and as long thereafter as oil and gas are being produced
 (as to caption & more land)

 (b) Assigned from John D Oil and Gas Company to Great Plains Exploration LLC, dated 8/11/2006, filed
 for record 8/14/2006 and recorded as instrument No. 2006R033032 of Lake County Records




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